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           EXHIBIT G
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               Infringement of U.S. Patent No. 7,760,189 by ASUS’s Exemplary Zenbook Pro (UX6404)

       Claim Language                    Exemplary ASUS Zenbook Pro


1(p)   A method for providing diagonal   To the extent the preamble of claim 1 is limiting, the Accused Products practice a
       scrolling on a touchpad of a      method, including a method comprising the steps shown below and for claim
       device, the method comprising:    elements 1(a)-1(c).


                                         For example, the ASUS Exemplary Zenbook Pro (UX6404) (“ASUS Zenbook Pro”)
                                         is a device, and, in particular, is a laptop device.




                                         See https://www.asus.com/us/laptops/for-home/zenbook/filter?SubSeries=Zenbook-
                                         Pro.




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Claim Language               Exemplary ASUS Zenbook Pro




                             See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                             ux6404/where-to-buy/.


                             The ASUS Zenbook Pro incorporates a touchpad as shown below:




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Claim Language               Exemplary ASUS Zenbook Pro




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Claim Language               Exemplary ASUS Zenbook Pro




                             See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                             ux6404/




                             See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                             ux6404/techspec/.




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Claim Language               Exemplary ASUS Zenbook Pro




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Claim Language               Exemplary ASUS Zenbook Pro




                             See
                             https://dlcdnets.asus.com/pub/ASUS/nb/UX6404VI/0409_E20871_UX6404V_A.pdf
                             ?model=UX6404VI, ASUS Zenbook Pro User Manual at pp. 16 and 20.




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Claim Language               Exemplary ASUS Zenbook Pro
                             As shown below, the ASUS Zenbook Pro’s touchpad allows users to utilize gestures
                             to navigate on screen:




                             See
                             https://dlcdnets.asus.com/pub/ASUS/nb/UX6404VI/0409_E20871_UX6404V_A.pdf
                             ?model=UX6404VI, ASUS Zenbook Pro User Manual at p. 20.


                             As shown below, the ASUS Zenbook Pro uses an ASUS DialPad driver to enable
                             communications between the touchpad and the operating system to “provide . . .




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Claim Language               Exemplary ASUS Zenbook Pro
                             fingertip control.”




                             See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                             ux6404/helpdesk_download/?model2Name=UX6404VI




                             The ASUS Zenbook Pro performs methods for performing diagonal scrolling on its
                             touchpad, including the method steps shown below. See infra claim elements 1(a)-
                             1(c).


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       Claim Language                          Exemplary ASUS Zenbook Pro

1(a)   determining if at least one finger is   The Accused Products perform the method step of “determining if at least one finger
       in contact with the touchpad;           is in contact with the touchpad.”
                                               For example, the ASUS Zenbook Pro’s touchpad allows users to utilize gestures to
                                               navigate on screen:




                                               See
                                               https://dlcdnets.asus.com/pub/ASUS/nb/UX6404VI/0409_E20871_UX6404V_A.pdf
                                               ?model=UX6404VI, ASUS Zenbook Pro User Manual at p. 20.




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Claim Language              Exemplary ASUS Zenbook Pro
                            The touchpad incorporated into the ASUS Zenbook Pro determines if at least one
                            finger is in contact with the touchpad.




                            Fig. 1 (showing the touchpad registering two fingers (Index 1 and Index 2) and
                            displays the coordinates of each finger on the touchpad).
                            Determination is also shown by the cursor moving from its position when no fingers
                            are in contact with the touch pad (Figures 2 and 4) to another position when at least
                            one finger is in contact with the touchpad (Figures 3 and 5):




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 2.




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 3.




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 4.




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       Claim Language                       Exemplary ASUS Zenbook Pro




                                            Fig. 5.

1(b)   entering a diagonal scroll mode if   The Accused Products perform the method step of “entering a diagonal scroll mode
       more than one finger is in contact   if more than one finger is in contact with the touchpad.”
       with the touchpad, and

                                            For example, the ASUS Zenbook Pro enters a diagonal scroll mode when more than
                                            one finger is in contact with the touchpad. See Figure 6 (showing more than one
                                            finger in contact with the touchpad) and Figure 7 (showing a diagonal scroll when
                                            more than one finger is in contact with the touchpad).




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 6.




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       Claim Language                    Exemplary ASUS Zenbook Pro




                                         Fig. 7.

1(c)   scrolling diagonally in the       The Accused Products perform the method step of “scrolling diagonally in the
       diagonal scroll mode within the   diagonal scroll mode within the touchpad of the device in the direction of the more
       touchpad of the device in the     than one simultaneous finger contact.”
       direction of the more than one
       simultaneous finger contact.
                                         For example, the ASUS Zenbook Pro scrolls diagonally in the diagonal scroll mode
                                         within the touchpad of the device in the direction of the more than one simultaneous
                                         finger content. See Figure 8, Figure 9, and Figure 10 (showing diagonal scrolling
                                         within the touchpad in the upward left direction, the same direction of the more than
                                         one simultaneous finger contact).




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 8.




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 9.




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       Claim Language                        Exemplary ASUS Zenbook Pro




                                             Fig. 10.



9(p)   A computer readable medium            To the extent the preamble of claim 1 is limiting, the Accused Products comprise a
       containing program instructions       computer readable medium containing program instructions for providing diagonal
       for providing diagonal scrolling on   scrolling ono the touchpad of a device, including program instructions practicing
       a touchpad of a device, the           claim elements 9(a)-9(c).
       program instructions for:             For example, the Exemplary Zenbook Pro (UX6404) (“ASUS Zenbook Pro”) is a
                                             device, and, in particular, is a laptop device.




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Claim Language              Exemplary ASUS Zenbook Pro




                            See https://www.asus.com/us/laptops/for-home/zenbook/filter?SubSeries=Zenbook-
                            Pro.




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Claim Language              Exemplary ASUS Zenbook Pro




                            See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                            ux6404/where-to-buy/.


                            As shown below, the ASUS Zenbook Pro incorporates a computer readable medium
                            in the form of a 1 TB solid-state drive.




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Claim Language              Exemplary ASUS Zenbook Pro




                            See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                            ux6404/where-to-buy/.




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Claim Language              Exemplary ASUS Zenbook Pro
                            See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                            ux6404/techspec/.


                            The ASUS Zenbook Pro incorporates a touchpad as shown below:




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Claim Language              Exemplary ASUS Zenbook Pro




                            See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                            ux6404/




                            See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                            ux6404/techspec/.




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Claim Language              Exemplary ASUS Zenbook Pro




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Claim Language              Exemplary ASUS Zenbook Pro




                            See
                            https://dlcdnets.asus.com/pub/ASUS/nb/UX6404VI/0409_E20871_UX6404V_A.pdf
                            ?model=UX6404VI, ASUS Zenbook Pro User Manual at pp. 16 and 20.


                            As shown below, the ASUS Zenbook Pro uses an ASUS DialPad driver to enable
                            communications between the touchpad and the operating system to “provide . . .

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Claim Language              Exemplary ASUS Zenbook Pro
                            fingertip control.” The driver contains program instructions for providing diagonal
                            scrolling on the ASUS Zenbook Pro’s touchpad.




                            See https://www.asus.com/us/laptops/for-creators/zenbook/zenbook-pro-14-oled-
                            ux6404/helpdesk_download/?model2Name=UX6404VI




                            The ASUS Zenbook Pro’s computer readable medium contains program instructions
                            for providing diagonal scrolling on its touchpad, including the steps shown below.
                            See infra claim limitations 9(a)-9(c).



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       Claim Language                          Exemplary ASUS Zenbook Pro

9(a)   determining if at least one finger is   The Accused Products contain program instructions for “determining if at least one
       in contact with the touchpad;           finger is in contact with the touchpad.”


                                               For example, the ASUS Zenbook Pro’s touchpad allows users to utilize gestures to
                                               navigate on screen:




                                               See
                                               https://dlcdnets.asus.com/pub/ASUS/nb/UX6404VI/0409_E20871_UX6404V_A.pdf
                                               ?model=UX6404VI, ASUS Zenbook Pro User Manual at p. 20.




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Claim Language              Exemplary ASUS Zenbook Pro
                            The touchpad incorporated into the ASUS Zenbook Pro determines if at least one
                            finger is in contact with the touchpad.




                            Fig. 1 (showing the touchpad registering two fingers (Index 1 and Index 2) and
                            displays the coordinates of each finger on the touchpad).
                            Determination is also shown by the cursor moving from its position when no fingers
                            are in contact with the touch pad (Figures 2 and 4) to another position when at least
                            one finger is in contact with the touchpad (Figures 3 and 5):




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 2.




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 3.




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 4.




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       Claim Language                       Exemplary ASUS Zenbook Pro




                                            Fig. 5.

9(b)   entering a diagonal scroll mode if   The Accused Products contain program instructions for “entering a diagonal scroll
       more than one finger is in contact   mode if more than one finger is in contact with the touchpad.”
       with the touchpad, and

                                            For example, the ASUS Zenbook Pro enters a diagonal scroll mode when more than
                                            one finger is in contact with the touchpad. See Figure 6 (showing more than one
                                            finger in contact with the touchpad) and Figure 7 (showing a diagonal scroll when
                                            more than one finger is in contact with the touchpad).




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 6.




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       Claim Language                    Exemplary ASUS Zenbook Pro




                                         Fig. 7.

9(c)   scrolling diagonally in the       The Accused Products contain program instructions for “scrolling diagonally in the
       diagonal scroll mode within the   diagonal scroll mode within the touchpad of the device in the direction of the more
       touchpad of the device in the     than one simultaneous finger contact.”
       direction of the more than one    For example, the ASUS Zenbook Pro scrolls diagonally in the diagonal scroll mode
       simultaneous finger contact.      within the touchpad of the device in the direction of the more than one simultaneous
                                         finger content.
                                         See Figure 8, Figure 9, and Figure 10 (showing diagonal scrolling within the
                                         touchpad in the upward left direction, the same direction of the more than one
                                         simultaneous finger contact).




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 8.




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 9.




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Claim Language              Exemplary ASUS Zenbook Pro




                            Fig. 10.




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